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                                                             Exhibit A
Case 3:19-cv-00223-DMS-MDD                                     Document 1-2                    Filed 01/31/19                     PageID.9                  Page 2 of
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1. Check one box below fot the case type that best desciibes.lhis case:
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2. This case             is            Is not· complex under rule 3.400 of .tho Cl!lifornia ~ules of Court. K lhe case is complex. mark the
   •f ol!dilrs requiring exceplional judicial management
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    c. D        Substantial amount ol documentary evidence.           f.       Substantial postjudgment judicial superv~lon
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(\. If ther!! ere any known relril!!d cases, r.tj! and serve a notice of.related.case. ('(ou m y use form CM-015.)
Date: December 19,_201·8                                                                    .                   .                 . J , 5' J,,
.Ambcr·L. Eck                                                            .                                                        /f\- (~
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  • File this cover sheet in addillon 10 ony-c;over sheet required by local.coun rule.
  • If lhls case·is complex under rule·3.400 et seq. of the ca1ifom\a Rules ol Cou•1. you "!usfservo a copy of this cover sheet on all
     other parties to lhe.actlon °'proceeding.
  • U nless this Is a collection~. case under rule 3.740 or a complex case, this cover sheet will b"e used Cor·s1allstical purposes onlv.
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                                                                                                                                      CM·010
                                    INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET
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complete and me. along wilh your r.,.1 pa,per. lhe CivH Case Cover Sheet eonlained on pag6 1. This infOtt'n:llion will be used lo eonipae
stalis1ics about the types and number.I of cases filed. You musl complete Items 1 lhnough 6 on lhe sheet. In ttem 1. you must cheek
one box for lhe case type thal best desttibes Iha case. If lhe case ms both a general and a m0te specific type or caS<l listed in item 1.
check the more specific one. If lhe case has mulllple causes of.action, Check lhe box that best Indicates lhe primary cause or aclion.
To assist you In compleUng the sheet examples of the cases that belong under each case type in llem 1 are pnovlded belov1. A cover
sheet must be filed only with your inilial paper. FaHure lo file a cover sheel wilt. the'firs1 paper filed In a ciVil case may subject a party,
its Counsel. or bolh to sanctions undllf rules 2.30 and 3.220 ol lhe Cal~omla Rules of Court.
To Parties in Ru le 3.740 Collecl.l ons Cases. A "collections case" under rule 3.740 Is deOned as an action for recovery of money
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which pnoperty, services. 01 money wes acquired on crellll. A collecllons case does not inctude an action seeking the following: (1) lo"
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case will be subject to the requiremen1s for setVli:e and oblalnlng a judgmen1 In rule 3.740.
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                                                    CIVIL CASE COVER SHEET
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                                                                                                        .
                   San Diego, CA 9210 I
               5   Telephone: (6 19) 342-8000
                   Facsimile: (619) 342-7878
               6
               7   Attorneys for Plaintiff

               8                        SUPERIOR COURT OF THE STATE OF CALIFORNIA
               9                                   COUNTY OF SAN DIEGO
              10   GREGORIO MONT AL VO-SMlTH, an               Case No.: 37-2018-00064164-CU-WT-CTL
                   Individual,
              11                                               COMPLA.INT FOR DAMAGES AND
                                  Plaintiff,                   INJUNCTIVE RELJEF
              12
    ...
    ....!
    ....!     13          vs .
    .,;
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    oll       14   SHARECARE HEALTH DATA SERVICES,
    !;;            LLC, a· Delaware Corporation; and
    5         15   DOES l lhrough 50, Inclusive,
    8'
    s<        16
                                  Defendants.
    :I:
              17                                               DEMAND FOR JURY TRIAL

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                       Plaintiff Gregorio Montalvo-Smith ("Plaintiff' or "Smith"). by his auomeys, brings this

           2   action on behalf of himself against Sharecare Health Data Services, llC, a Delaware corporation

           3   ("Defendant" or "Sharecare") and DOES I through 50, inclusive. Plaintiff makes the following
           4   a llegations upon information and belief (except those allegations as to Plaintiff or his attorneys,

           5   which are based on personal knowledge), based upon an investigation that is reasonable under the

           6   circumstances, which allegations are likely to have evideniiary support after a reasonable

           7   opportunity for further investigation and/or discovery.

           8                                         NATURE OF ACTION

           9           I.      Plaintiff Smith brings this retaliation and wrongful termination action seeking

          JO   compensation for the harm he ;uffere-0 and continues to suffer as a result of Defendant Sharecare's

          II   misconduct. Smith is an experienced Human Resources ("HR") professional with 16 years HR

          12   experience, who was hired by Sharccare as an HR Generalist on March 16, 2018. Smith was an

...
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,_J
          13   excellent and dedicated employee, receiving a merit bonus in July 2018 based on meeting all of his

          14   goals. When Plaintiff became aware on July 26, 2018, that two Sharecare employees (Julie Nguyen
....~
-<!       15   and Veronica Reyes) were severely harassing other employees, he conducted a thorough and
...

..~
          16   impartial investigation. After interviewing approximately a dozen employees, including one of the

          17   harassers (Nguyen) and her supervisor, Shari Winter, Plaintiff conclude-0 that unlawful harassment
:ti
          18   had occurred, and that the supervisor knew of the harassment and failed to report or prevent the

          19   harassment from occurring. Accordingly, be terminated the harasser (Nguyen) and her supervisor

          20   (Winter). This angered the HR Director, Deb Troyer (who was best friends with Winter), and she

          21   threatened Smith by saying she would " return the favor" for firing her best friend.

          22           2.     Sure enough, on August 31, 2018, less than on• month aficr S111i1la enforced

          23   Sharecare's harassment policy by firing Winter and Nguyen for violation of the pol icy, Troyer

          24   "returned the favor," and terminated Smith in clear retaliation for his participating in the harassment

          25   investigation of Winter. Shan:carc gave Smith the pretcxtual excuse that it was "eliminating his

          26   position." Sharecare, however, pos ted a job opening for Plaintifrsjob the same day on line, with a

          27   new title.

          28

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                     3.      In order to redress the hanns suffered, Plaintiff brings claims for: (I ) retaliation and

         2   wrongful tennination in violation of Government Code §12940(h); and (2) wrongful tennination in

         3   violation of public policy.

         4                                      J URISDICTION AND VENUE

         5           4.      This Court has jurisdiction over all c auses of action asserted herein pursuant to

         6   Article VI, §IO of the California Constitution, because this case is a cause not given by statute to

         7   other trial courts. federal jurisdiction docs not exist in this case because there is no federal questi.on

         8   implicated and because there is no diversity of citizenship.

         9           5.      This Court has personal jurisdiction over Defendant because it is licensed to do

        10   business, and conducts a substantial amount of business, in the State of California. During the

        11   relevant time period, Defendant did sufficient business in, had sufficient contacts with, and

        12   intentiona lly availed itself of the laws and markets of California through the promotion, sale,

        13   marketiog, and operation of its services, as to render exercise of jurisdiction by California courts
0..
~       14   pcnnissible.
"
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<id     15          6.      Venue is proper in this County in accordance with Code of Civil Procedure §395(a)
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"'5
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        16   because Plaintiff resides in th is County and Defendant is currently doing, and has done during the
0
!i!     17   relevant time period, significant amounts of business in this County. In addition, many of the
~
        18   unlawful acts and pracrices giving rise to Plaintiff's claims occurred in this County.

        19                                              THE PARTIES

        20                                                  Plaintiff

        21          7.      On or about March 16, 2018, Plainl iff Gregorio Montalvo-Smillt was hired by

        22   Sharecare as a Human Resource Generalist, with a starting pay of approximately $70,000 annually,

        23   and ao annual bonus of $2,500 paid quarterly per completion of a set goals per quarter. Plaintiff was

        24   also entitled to health insurance, 40 I K benefits, and Paid Time Off. Plaintiff was an experienced

        25   HR professional with 16 years of experience and a Masrers' degree in Human Resources. In July

        26   2018, he received a quarterly bonus of $2,500 for meeting all his goals and received positive

        27   feedback.

        28

                                     COMPLAINT FOR DAMAGES ANO I NJUNCTIVE REl,ll!F
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                      8.      Plaintiff worked at Sharecare in San Diego where he consisten tly and competently

          2   performed and adhered to the essential professional and ethical duties of his job. Plaintiff was an

          3   all-around exceptional employee.

          4                                                 Defendants

          5           9.      Defendant Sharecare Health Data Services, LLC is a Delaware corporation with its

          6   headquarters and principal place of business in San Diego, California. Sharecare Health Data

          7   Services is an affiliate of Sharceare, lnc., and provides secure electronic exchange, delivery, and

          8   integration of protected health infonnation. Sharecare's services include release of information,

          9   electronic health record chart indexing, audit and chart review, disability and Family and Medical

         10   Leave Act fonn processing, and billing office workflow tools and services. The company was

         11   founded as BACTES Imaging Solutions in 1991, and acquired by Sharecarc, lnc. in 2013. At the

         12   time of Plaintiffs termination, Deb Troyer was Plainti ff's direct supervisor.

         13           I 0.    ln doing the acts herein alleged, Sharecare's employees, subcontractors, and agentS
"-
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...J
         14   acted within the course and scope of their employment and agency with Sharecare. Sharecare
i
Ul
oil!     15   engaged in the actS alleged herein and/or condoned, permitted, authorized, and/or ratified the
!;;
5        16   conduct of its employees, subcontractors, and agents, and is vicariously liable for the wrongful
8'
s        17   conduct of its employees, subcontractors, and agentS alleged herein.
~
         18           11.    Plaintiff does not know the true names and capacities of defendants DOES I through

         19   50, ioclusive, and therefore sues them by these fictitious names. Plaintiff will amend this Complaint
         20   to include their names and capacities once they are known. Plaintiff is infom1ed and believes, and

         21   on that basis alleges, that each of the defendants designated as a DOE is legally responsible in some

         22   manner for the occurrences alleged in this Complaint, and unlawf\.1lly caused the injuries and

         23   damages to Plaintiff as alleged in this Complaint.

         24           12.    Plaintiff is informed and believes and thereon alleges that each defendant is, and at

         25   all times mentioned was, the agent, employee, or representative of each other defendant. Each

         26   defendant, in doing the acts, or in omitting to act as al lcged in this Complaint, was acting within the

         27   scope of his, her, or its actual or apparent authority, or the alleged acts and omissions of each

         28   defendant as agent subsequently were ratified and adopted by each other defendant as principal.

                                      COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF
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                                                EXHAUSTION OF REMEDIES
           2          13.     On December 13, 2018, Plaintiff filed a charge of discrimination with the

           3   Department of Fair Employment and Housing ("DFEH"). That same day, the DFEH closed
           4   Plaintiff's case and issued a Right-To-Sue Notice. On December 14, 20 18, Plaintiff filed an

           5   amended Right to Sue, to name the proper Defendant entity. True and correct copies of the Amended

           6   charge and notice are collectively attached hereto as Eithibit A. Therefore, Plaintiff has exhausted
           7   his administrative remedies.

           8                        FACTS COMMON TO ALL CAUSES OF ACTJON

           9            Smith, an Eicperienced KR Professional with 16 Years HR Experience and a
                            Masters' Degree in HR, Is Hired by Sbarecare and Meets All Goals
          10
                      14.     On or about March 16, 2018, Sharecare hired Smith as an HR Generalist in San
          II
               Diego, California. Pia inti ff was an experienced HR professional with 16 years of HR experience
          12
               and a Masters' degree in Human Resources.
0..
          13
....!
....!                 15.     Plaintiff consistently and competently performed and adl1ered to the essential
,/        14
u
Ul             professional and ethical duties of his job. Throughout his employment at Sharccare, he consistently
~         15
...            received positive feedback from his superiors and peers.
"'
~         16
8                     16.     Jn July 2018, Smith was eligible for a bonus if he met all of his goals. Sharccare
~         17
               found that be met all his goals and awarded him a $2,500 bonus.
          18                        '
                               Sharecare 's Policy and California Law Prohibit Harassment,
          19                                  Discrimination, and Retali ation
          20          17.    Sharecare's Harassment and Discrimination policy provides that:
          21
                      The company strictly proltibits discrimitwtion or /t(lrassme11t ofany kind, whether
          22          based on ... age ... mental or physical disability, medical condition ... or any other
                      protected class in conformity with afl. applicable federal, state, and local laws and
          23          regulations.
          24          The Compa11y will not tolerate retaliation against any person wlto lras opposed
                      any unlawful discriminatory practice, or who has made a complaint of
          25          discrimination or harassment, testified, assisted or participated in any manner in an
          26          investigation, proceeding, or hearing.

          27          The Company prohibits harassing, discriminatory or retaliatory conduct by co-
                      workers, third parties and supervisors.                                    ·
          28

                                        COMPLAINT FOR OAMAOES ANO INJUNCTIVE RELIEF
         Case 3:19-cv-00223-DMS-MDD             Document 1-2          Filed 01/31/19       PageID.17        Page 10
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                        DEFINITIONS
             2          Harassment ... illcludes any physical, verbal, or visual co11d11ct that crea.tes tm
                        i11timidating, offensive, or hostile en vironmellf that interferes with work
             3          performance. Harassment . . . refers to behavior that's unwelcome, or that's
             4          offensive, fails to respect the rights of others, J-0wcrs morale and that interferes with
                        work effectiveness. This behavior is unacceptable in the workplace and in other
             5          work-related settings .. ..

             6                                               •••
             7          Examples of conduct that may be considered harassment include, but are not limited
                        to:
             8
                                •Verbal conduct, such as .. . derogatory jokes or comments, slurs ... .
             9

            JO                                               •••
            II                  • Physical conduct such as assault, unwanted touching ....

            12                                               •••
Q..
           13                   •Retaliation for having reported or threatened to report harassment.
.....
.....       14                                               • ••
6
"'<ill     15           a.    It is tire responsibility of every employee to report any a/legations of
t;
5                       harassment and/or discrimination.
            16
8'
!il         17          b.     Sharecare will ensure that all compluints of harassment and/or
<
:I:                     discrimination are promptly a11d thoroughly investigated by qualified personnel
            18          in an impartial manner. All complaints will be documented .... If Sha.recare
                        determines that unlawful harassment or discrimination has occurred, appropriate
           19           corrective action will be take11. Any person found to have unlawfully ha:rassed
                        another colleague will be subject to disclpli11ary actio11, up to and includillg
           20           termi11ation of employme11t.                     ·
           21
                        18.    Likewise, Sharecare's "Violence in the Workplace" policy states:
           22
                        The Company does not tolerate any type of workplace violence committed by or
           23           against colleagues. The Company strictly proliihits violent, hurassil1g,
                        lntimidati11g, o r threatening conduct, of either a verbal or physical 11at11re, by or
           24           between colleagues or other persons on company premises or work sites.
           25    Sharecare Employee Handbook (emphasis added throughout).
           26           19.    Throughout his employment with Sharecarc, Smith took seriously his obligation to
           27    prevent and not tolerate harassment, bullying, or discrimination in compliance with Sharecare's
           28    written policies and California law. This included conducting thorough, impartial investigations of

                                        COMPLAINT FOR DAMAGES A.ND INJUNCTIVE RELIEF
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                 any complaints of harassmcm or discrimination and taking appropriate action. lndeed, part of

             2   Smith's job description was to"assist in development and implementation of[Sharcearc's] policies

             3   and procedures."

            4            20.     Unfortunately, Pla intiff's compliance with Shareeare's anti-discrimination and anti-

            5    harassment policy was contrary to Sharccare's unspoken policy that HR Director T royer's friends

            6    were immune from Sharecare's anti -harassment and anti-discrimination pol icy.

            7        S harccare Employees Nguyen a nd Reyes E ngage in Relentless, C ruel, and Degrading
                       Ha rassment of Mory o nd Others with the Knowledge of Their S upervisor , Winter
            8
                         21.     Despite Sharccare's policy against discrimi nation and harassment, Sharecare
            9
                 mailroom (posting team) employees Nguyen and Reyes engaged in relentless, continuous
            10
                 harassment of another mail room employee, Mary, as well as a number of other employees. Their
            11
                 supervisor, Winter, knew of this harassment and had witnessed it on many occasions over the course
            12
                 of 17 months, but d id not report it to HR, did nothing to stop it, and took no remedial action.
            13
0..
..J                      22.    Nguyen's and Reyes' harassment of Mary and others was malicious, cruel, and
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.,;:        14
:d               degrading, often based on age and/or actual or perceived menrnl or physical disabilities, and often
'd          15
......           in the presence of Defendant's other employees, including:
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           17
                                (a)     Calling Mary's name repeatedly from their desk, and then throwing paper

                 clips at her head to get her attention if she did not respond quickly enough.
           18
                                (b)     Mocking and criticizing the way Mary and other employees walked and
           19
                 breathed, including telling Mary that she sounded like a horse galloping when she walked, and that
           20
                 her breathing was too hard when she was at her desk.
           21
                                (c)     Mocking and criticizing the way Mary and other employees dressed; telling
           22
                 Mary she dressed as if she lived in a homeless shelter.
           23
                                (d)     Hara.ssing Mary based on her age, telling her she was too old to be work ing
           24
                 at Sharceare; taunting her on her birthday to reveal her age, and when she finally did, laughing at
           25
                 her and saying: "J knew you were an old ass. You are old as fuck!" "You belong in an old folk's
           26
                 borne." Their manager, Winter, witnessed these comments, but tool: no remedial action; she merely
           27
                 said: "that's not nice," and walked off.
           28

                                         COMPtAINT FOR DAMAGES AND INJUNCTIVE RELIEF
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                                 (e)      During a mandatory employee department meeti ng, insuhing and belinling

            2   Mary in front of the entire department, discuss ing her clothing, age, and work perfonnance. Mary's

            3   manager, Winter, was there but said nothing. Corporate Controller Shanahan had to intervene and

            4   stop the harassment but took no remedial action.

            5                    (f)     Harassing and antagonizing Mary based on her disability - that she was hard

            6   of hearing, because she is deaf in one ear. Once, Nguyen took a huge box full of mail and dropped

            7   it down on the floor behind Mary's desk to scare her. They also frequently snuck up behind her desk

            8   and then clapped their hands loudly against her ears o r made other loud sounds to scare her. Mary

            9   tried to get them to stop by confiding in them that she was once in an abusive relationship and lost

           10   her hearing in one ear. On hearing this, Nguyen and Reyes both started laughing and mocking her

           II   again.

           12                          Mary's Compl aints to S harecare About t he Harassment

 0..
           13             23.    As tbe harassment became more aggressive, Mary put a small mirror on her desk
.....
.....
           14   facing outward, so she could try to see when Nguyen and Reyes were coming over to scare or harass
15
w
<Id        15   her. She was having panic attacks and cryi ng in her car. She begged Nguyen aod Reyes to stop
!;;
5          16   harassiag her, but this only fueled their fire.
°'
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~          17             24.   Sharecare manager Winter witnessed this harassment on numerous occasions, but
~
           18   did aot report it to HR, did not take any remedial action, and did not request any investigation or
           19   remedial action.

          20             Plaintiff Sm ith Learns of Mary's Harassment and Discriminati on Complaint and
                                      Promplly Conducts a Thorough, Impartial Investigation
          21
                         25.    On Thursday July 26, 2018, Smith became aware of the most recent harassment
          22
                complaint submitted by Mary via email to her manager, Winter. That day, Smith reviewed the email ,
          23
                met with Winter, and met with Mary.
          24
                         26.    Startil)g July 26, 2018, and over the course of the next week throl'gh Wed nesday
          25
                August I , 2018, Smith conducted a full and fair investigation of May's allegations, including
          26
                interviewi ng ten employees. Smith interviewed the complainant, Mary ; the alleged harasser,
          27
                Nguyen (the other harasser, Reyes, was out on leave); their supervisor, Wi nter; and numerous
          28

                                         COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF
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                employees who had witnessed or experienced harassment by Nguyen or Reyes. Each of these

            2   interviews was witnessed by HR Specialist Samantha Mickey, and Smith prepared a report detailing

            3   his in terview with each of the wimesses.

            4      Based on t he Ten E mployee Interviews Wh ich C orroborated Nguyen's Hara ssment, a nd
                       Winter 's Knowledge of the H ar assment, Sm ith Termina tes Nguyen and Winter
            5
                        27.       The witnesses Smith interviewed overwhelmingly corroborated Mary's complaints
            6
                of harassment, intimidation, workplace bullying, and physical assault. The witnesses also
            7
                corroborated the fact that supervisor Winter knew of the harassment of Mary and thre.e other
            8
                employees by Nguyen, and Reyes, and that Wi nter knowingly allowed the harassment to continue
            9
                in the department and in her presence. TI1e employees explained that they felt intimidated by both
           10
                employees, and hoped that if they stayed quiet, these employees would leave them alone and move
           11
                on to harass someone else.
           12
                        28.       Smith was unable to interview one of the harassers, Reyes, since s he was out on
...
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           13
                leave, but intended to interview her when she returned. When Smith interviewed the other harasser,
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w               Nguyen, she had no explanation for her egregi ous harassment and tormenting of the other
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t;              employees, other than that she just has "RFB" ("resting bitch face").
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           17
                        29.       On August I, 2018, after consultation w ith Corporate Controller Shanahan and
x               Troyer, Smith terminated Nguyen and Winter. Sm ith terminated Nguyen for violati ng Sharecare's
          18
                policy which prohibits intimidation, harassment, bullying and workplace violence. Smith set out
           19
                numerous examples of such harassment, intimidation, and violence, severa l of which arc included
          20
                in '1122 above.
          21
                        30.       Smith terminated Winter on August I, 2018 for: (a) knowingly allowing her
          22                                                                                    ~
                employees to be ridiculed, harassed, and assaulted by an employee she managed; (b) failing to report
          23
                the initial incident to the HR Department after Mary first reported it to her during one of their one-
          24
                on-one meetings; (c) failure to follow Sharecare' s policy regarding bullying, harassment, and
          25
                violence in the workplace; (d) knowingly allowing Nguyen and Reyes to bully and intimidate Mary
          26
                and three other employees in her department and in her presence; and (e) allowing an atmosphere
          27

          28

                                         COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF
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               of intimidation in her department by allowing the four harassed employees to feel uncomfortable

           2   with the refusal to resolve their complaints.

           3          Sharecare Terminates Smith in Retaliation for E nforcing Its Harassment Policy
                                 and the Fair Employment and Housi ng Act ("FERA")
           4
                       31.     Smith's decision to fire Shari and Jul ie for harassment was in accordance with
           5
               Shareeare's policy and California law. However, Smith's supervisor, Troyer (HR Director), was not
           6
               happy with the outcome, since she was a personal friend of Winter. She flew down to San Diego
           7
               shortly after the terminations and told Smith she was "extremely dissatisfied" in his termination of
           8
               her best friend Winter, and threatened: "Now, I'm going to return the favor." Sure enough, she did.
           9
                       32.     Over the next few weeks, Troyer began making unjustified pretcxtua 1 criticisms and
          10
               complaints to Smith abou t his performance. Unbeknownst to Smith (until he received his
          11
               employment file after he was fired), Troyer prepared a retaliatory "Disciplinary Action" form
          12
               against Smith with vague and unjustified complaints ofjob performance, which was never provided
...
...>
          13
               to Smith.
...>
,,z       l4
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w                      33.     Then, on August 3 1, 2018, less than one month after Smith enforced Sharecare's
ol!       IS
t;;            harassment policy by firing Winrer and Nguyen for violation of the policy, Troyer "returned the
5         16
g
g              favor" as she promised and terminated Smith. Sharccarc gave Sm ith the pretcxtua I excuse that it
          17
;!
               was "eliminating hi.s position." Sharecare, however, posted a job opening for Plaintiff's same job
          18
               the same day online, with a new title .
          19
                       34.     As a result of conduct, Plaintiff has suffered, and continues to suffer, humiliation,
         20
               embarrassment, emotional distress, and mental anguish. Plainriffis a victim ofSharecare's unlawful
         21
               practices and therefore brings this action to recover damages, restitution, and injunctive and
         22
               declaratory relief.
         23
                                                 FIRST CAUSE OF ACTION
         24
                                            Retaliallon and W r ongful Termination
         25
                                         in Violation of Government Code §12940(h)
         26
                      35.      Plaintiff re-alleges and incorporates he rein by reference each and eve.ry allegation in
         27
               the preceding and subsequent paragraphs.
         28

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                              36.     Government Code§ l 2940(h) provides that it is unlawful for an employer "to harass,

                  2   discharge, expel, or otherwise discriminate against any person because the person has opposed any

                  3   practices forbidden under this part or because the person has.filed a complaint, testified, or assisted

                  4   ia any proceeding under this part." Government Code §I 2940(a) proh ibits an employer from

                  5   discriminating against any person on the basis of sex, gender, medical condition, or physical

                  6   disabi lity, among other characteristics.

                  7           37.     Sharccare retaliated against Plaintiff by giving him unjustified criticisms and

                  8   terminating his employment because Plaintiff opposed and invesrigated harassment and

                  9   discrimination ofSharecare employees. Less than a m onth after Plaintiff properly investigated the

                 10   harassment and terminated the harasser and her supervisor, Defendant fired Plaintiff in retaliation

                 Il   for his lawful and appropriate conduct.

                 12          38.      As a proximate result of Sharecare's wrongful conduct, Plainriff has suffered, and

                 13   continues to suffer, substantial losses in earnings and job benefits in an amount to be derermined
.........""
     ,;          14   according to proof at the time of trial.
     u
    l>l
   'IS           15          39.      As a further proximate result ofSharecare's wrongful conduct, Plainti ff has suffered,
    ,_
     "'
     ~           16   and continues to suffer, humiliation, embarrassment, emotional distress, and menial anguish, all in
    8
    "'
    ~
                17    an amount to be determined according to proof at the time of trial.

                 18          40.      ln doing the acts herein alleged, S harecare acted wi th oppression, fraud, malice, and
                 19   in conscious disregard of the rights of Plaintiff, and Plaintiff is therefore entitled to punitive damages

                20    against Sharecare in an amount appropriate to punish and make an example of Sharecare.

                21           41 .     Plaintiff is also entitled to attorneys' fees pursuant to Government CQde §I 2965(b),

                22    as a result of Sharecare's wrongful conduct

                23                                      SECOND CAUSE OF ACTI ON

                24                                           Wrongful Termination
                                                          in Violation of Public Policy
                25
                             42.      Plaintiff re-alleges and incorporates he rein by reference each and every allegation in
                26
                      the preceding and subsequent paragraphs.
                27

                28

                                              COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF
       Case 3:19-cv-00223-DMS-MDD               Document 1-2       Filed 01/31/19       PageID.23        Page 16
                                                      of 28




                       43.     Jurisdiction is invoked in this Court pursuant to the public policy and common law

           2   of the State of California, pursuant to the cases of Tameny v. Atlantic Richfield Co., 27 Cal. 3d 167,

           J   172, 610 P.2d 1330 (I 980)("employer's traditiona l broad authority to discharge an at-will employee

           4   'may be limited by statute ... or by considerations of public policy'" (internal citation omitted));

           5   Gantt. v. Sentry Ins., I Cal. 4th I 083, I 094, 824 P.2d 680 (1992) ("there can be no right to terminate
           6   [an employee] for an unlawful reason or a purpose tbat contravenes fundamental public policy"),

           7   overruled on other grounds in Green v. Ralee Eng. Co., 19 Cal. 4rh 66 ( 1992); Silo v. CHW Med.
           8   Found., 27 Cal. 4th 1097, 1104, 45 P.3d 1162 (2002) .
           9           44.     Under California law, there is a fundamental and well-established public policy

          10   against retaliation for opposing unlawful or unethical activities, including, but not limited to, firing

          11   an employee for reporting or opposing violations of state or federal statutes. This fundamenta l public

          12   policy is embodied in the California Constitution and California statutory law. Adverse employment

          13   actions taken by an employer in response to such activity are contrary to such public policy and are
~
...l
,.z       14   thus actionable under the common law of California.
,j;l
di!       15           45.     Defendant Sharccarc retaliated against Plaintiff by giving him unjustified criticisms
...
~
:>        16   and terminating his employment because he opposed and assisted in proceedings under FEHA by
8...      17   investigating harassment and discrimination ofSharecare employees. Less than a month after Smith
~
          18   properly investigated the harassment and discrimination ofSharecare employees and terminated the

          19   harasser and her supervisor, Sharecare fired Smith in retaliation for his lawful and appropriate

         20    conduct. A termination in violation of FEHA may also give rise to a common law claim for wrongful

         21    termination in violation of public policy.

         22            46.     A~~ proximate result of Defendant's wroogful conduct, Plaintiff has suffered, and

         23    continues 10 suffer, substantial losses in earnings and job benefits in an amount to be determined

         24    according to proof at the time of trial .

         25            47.     As a funher proximate result of Defendant's wrongful conduct, Plaintiff has suffered,

         26    and continues to suffer, humiliation, embarrassment, emotional distress, and mental anguish, all in

         27    an amount to be determined according to proof at the time of trial.

         28

                                        COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF
        Case 3:19-cv-00223-DMS-MDD              Document 1-2         Filed 01/31/19        PageID.24        Page 17
                                                      of 28




                       48.      In doing the acts herein alleged, Defendant acted with oppression, fraud, malice, and

            2   in conscious disregard of the rights of Plaintiff, and Plaintiff is therefore entitled to punitive damages

            3   against Defendant in an amount appropriate to punish and make an example of Defendant.

            4                                                  PRAYER
            5          WHEREFORE, Plaintiff seeks j udgment as follows:

            6          A.      For general damages, according to proof:

            7          B.      For loss of earnings, according to proof;

            8          C.      For punitive and exemplary damages, accordi'ng to proof;

            9          0.      For costs of suit;

           JO          E.      For attorneys' fees;

           11          F.      For pre-judgment interest; and

           12          G.      For ~uch other and further relief as the Court deems just and proper.

           13                                       DEMAND FOR JURY TRIAL
"-
....!
....!
 ~
           14          Plaintiff demands a trial by jury on all claims.
Id
~          15   Dated: December 19, 2018                        HAEGGQUIST & ECK, LLP
l;;                                                             AMBERL. ECK
5          16
Cl                                                              ROBERT D. PRINE


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           19                                                                      AMBERL. ECK
          20                                                    225 Broadway, Suite 2050
                                                                San Diego, CA 92 10 I
          21
                                                                Telephone: {619) 342-8000
          22                                                    Facsim ile: (619) 342-7878

          23                                                    Attorneys for Plaintiff

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                                        COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF



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Case 3:19-cv-00223-DMS-MDD   Document 1-2   Filed 01/31/19   PageID.25   Page 18
                                   of 28




        EXHIBIT A
Case 3:19-cv-00223-DMS-MDD                               Document 1-2                         Filed 01/31/19   PageID.26             Page 19
                                                               of 28

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          DEPARTMENT OF FAIR EMPLOYMENT & HOUSING                                                                                     OIUCTOR ~IH l!Sft
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  December 14, 2018

  Amber Eck
  225 Broadway, Suite 2050
  San Diego, California 92101

  RE:   Notice to Complainant's Attorney
        DFEH Matter Number: 201812-04506813
        Right to Sue: Montalvo-Smith I Sharecare Health Data Services, LLC

  Dear Amber Eck:

  Attached ~s a copy of your amended complaint of discrimination filed with the
  Department of Fair Employment and Housing (DFEH) pursuant to the California Fair
  Employment and Housing Act, Government Code section 12900 et seq.

  Pursuant to Government Code section 12962, DFEH will not serve these documents on
  the employer. You or your client must serve the complaint.

  The amended complaint is deemed to have the same filing date of the original
  complaint. This is not a new Right to Sue letter. The original Notice of Case Closure
  and Right to Sue issued in this case remains the only such notice provided by the
  DFEH. (Cal. Code Regs., tit. 2, § 10022.)

  Be advised that the DFEH does not review or edit the complaint form to ensure that it
  meets procedural or statutory requirements.

  Sincerely,


  Department of Fair Employment and Housing
Case 3:19-cv-00223-DMS-MDD              Document 1-2      Filed 01/31/19   PageID.27   Page 20
                                              of 28




 1                    COMPLAINT Of EMPLOYMENT DISCRIMINATION
                            BEFORE THE STATE OF CALIFORNIA
 2                  DEPARTMENT OF FAIR EMPLOYMENT AND HOUSING
                    Under the California Fair Employment and Housing Act
 3                               (Gov. Code,§ 12900 et seq.)
 4
   In t he Matter of the Complaint of
 5 Gregorio Montalvo-Smith                                      DFEH No. 201812-04506813

 6                                 Complainant,
 7 vs.

 8    Sharecare Health Data Services, LLC
      255 E. Paces Ferry Road Ste 700
 9    Atlanta, Georgia 30305
10
                         Respondents
11
12 1. Respondent Sharecare Health Data Seryices, LLC is an employer subject to
   suit under the California Fair Employment and Housing Act (FEHA) (Gov. Code, §
13 12900 et seq.).
14
   2. Complainant Gregorio Montalvo-Smith, resides in the City of SAN DIEGO State
15 of California.

16 3. Complainant alleges that on or about August 1, 2018, respondent took the
   following adverse actions:
17
     Complainant was harassed because of complainant's other, association with a
18
     member of a protected class.
19
   Complainant was discriminated against because of complainant's association
20 with a member of a protected class and as a result of the discrimination was
   terminated. reprimanded, denied a work environment free of discrimination and/or
21
   retaliation.
22
   Complainant experienced retaliation because complainant reported or resisted
23 any form of discrimination or harassment, participated as a witness in a
   discrimination or harassment complaint and as a result was terminated.
24
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                                   Complaint-DFEH No. 201812-04506813
28 Date Filed: December 13, 2018
     Date Amended: December 14, 2016
 Case 3:19-cv-00223-DMS-MDD             Document 1-2    Filed 01/31/19    PageID.28      Page 21
                                              of 28




 1    Additional Complaint Details: Smith is an experienced HR professional with 16
      years HR experience, who was hired by Sharecare Health Data Services, LLC
 2    ("Sharecare") as an HR Generalist on March 16, 2018. Smith was an excellent and
      dedicated employee, receiving a merit bonus in July 2018 based on meeting all of
 3
      his goals. Wheri Plaintiff became aware, on July 26, 2018, that Sharecare
 4    employees were severely harassing other employees. he conducted a full, thorough
      and impartial investigation. After interviewing nearly a dozen employees, including
 5    the harasser and her supervisor, Plaintiff concluded that unlawful harassment had
      occurred, and that the supervisor knew of the harassment and failed to report or
 6    prevent it. Accordingly, he terminated the harasser and her supervisor.
 7·
      This angered Sharecare's HR Director, Deb Troyer (who was best friends with the
 8    terminated supervisor) and she threatened Smith she would "return the favor" for
      firing her best friend .
 9
   Sure enough, she did. Over the next few weeks, Troyer began making unjustified
10 pretextual criticisms and complaints to Plaintiff about his performance.
11 Unbeknownst to Plaintiff (until he received his employment file, after he was fired),
   Troyer even prepared a retaliatory "Disciplinary Action" form against Smith with
12 vague and unjustified complaints of job performance, which she never provided to
   Plaintiff.
13
   Then, on August 31, 2018, less than one month after Smith enforced Sharecare's.
14
   harassment policy by firing Shari and Julie for violation of the policy, Troyer called
15 Smith, "returned the favor," and terminated him in retaliation. Sharecare gave Smith
   the pretextual excuse that they were "eliminating his position: However, Sharecare
16 posted a job opening for Plaintiffs same job online the same day, with a new title.

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28    Date Filed: December 13, 2018
      Date Amended: December 14, 2018
 Case 3:19-cv-00223-DMS-MDD            Document 1-2     Filed 01/31/19    PageID.29     Page 22
                                             of 28




 1 VERIFICATION

 2   I, Amber L. Eck, am the Attorney in the above-entitled complaint. I have read the
     foregoing complaint and know the contents.thereof. The matters alleged are based
 3
     on information and belief, which I believe to be true.
 4
     On December 14, 2018, I declare under penalty of perjury under the laws of the St ate
 5   of California that the foregoing is true and correct.

 6                                                                        San Diego, CA
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28   Date Filed: December 13, 2018
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Case 3:19-cv-00223-DMS-MDD                              Document 1-2                        Filed 01/31/19   PageID.30     Page 23
                                                              of 28

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          DEPARTMENT OF FAIR EMPLOYMENT & HOUSING
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          http://www.dfeh. ~.gov I email: con t~.centv@dfeh.u.gov




  December 13, 2018

  Amber Eck
  225 Broadway, Suite 2050
  San Diego, California 92101

  RE:    Notice to Complainant's Attorney
         DFEH Matter Number: 201812-04506813
         Right to Sue: Montalvo-Smith I ShareCare. Inc. d/b/a ShareCare Digital Health
         California

  Dear Amber Eck:

  Attached is a copy of your complaint of discrimination filed with the Department of Fair
  Employment and Housing (DFEH) pursuant to the California Fair Employment and
  Housing Act. Government Code section 12900 et seq. Also attached is a copy of your
  Notice of Case Closure and Right to Sue.

  Pursuant to Government Code section 12962, DFEH will not serve these
  documents on the employer. You must serve the complaint separately, to all named
  respondents. Please refer to the attached Notice of Case Closure and Right to Sue for
  information regaraing filing a private lawsuit In the State of California. A courtesy "Notice
  of Filing of Discrimination Complainf' is attached for your convenience.

  Be advised that the DFEH does not review or edit the complaint form to ensure that it
  meets procedural or statutory requirements.

  Sincerely,


  Department of Fair Employment and Housing




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Case 3:19-cv-00223-DMS-MDD                               Document 1-2                         Filed 01/31/19   PageID.31        Page 24
                                                               of 28

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  December 13, 2018

  RE:    Notice of Filing of Discrimination Complaint
         DFEH Matter Number: 201812-04506813
         Right to Sue: Montalvo-Smith I ShareCare, Inc. d/b/a ShareCare Digital Health
         California

  To All Respondent(s):

  Enclosed is a copy of a complaint of discrimination that has been filed with the
  Department of Fair Employment and Housing (DFEH) in accordance with Government
  Code section 12960. This constitutes service of the complaint pursuant to Government
  Code section 12962. The complainant has requested an authorization to file a lawsuit.
  This case is not being investigated by DFEH and is being closed immediately. A copy of
  the Notice of Case Closure and Right to Sue is enclosed for your records.

  Please refer to the attached complaint for a list of all respondent(s) and their contact
  information.

  No response to DFEH is requested or required.

  Sincerely,


  Department of Fair Employment and Housing
Case 3:19-cv-00223-DMS-MDD                            Document 1-2                        Filed 01/31/19   PageID.32     Page 25
                                                            of 28

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          DEPARTMENT OF FAIR EMPlOYMENT & HOUSING
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   December 13, 2018

  Gregorio Montalvo-Smith
  225 Broadway, Suite 2050
  SAN DIEGO, California 92101

   RE:   Notice of Case Closure and Rigtit to Sue
         DFEH Matter Number: 201812-04.506813
         Right to Sue: Montalvo-Smith I ShareCare, Inc. d/b/a ShareCare Digital Health
         California

  Dear Gregorio Montalvo-Smith,

  This letter informs you that the above-referenced complaint was filed with the
  Department of Fair Employment and Housing (DFEH) has been closed effective
  December 13, 2018 because an immediate Right to Sue notice was requested. DFEH
  will take no further action on the complaint.

  This letter is also your Right to Sue notice. According to Government Code section
  12965, subdivision (b), a civil action may be brought under the provisions of the Fair
  Employment and Housing Act against the person, employer, labor organization or
  employment agency named in the above-referenced complaint. The civil action must be
  filed within one year from the date of this letter.

  To obtain a federal Right to Sue notice, you must contact the U.S. Equal Employment
  Opportunity Commission (EEOC) to file a complaint within 30 days of receipt of this
  DFEH Notice of Case Closure or within 300 days of the alleged discriminatory act,
  whichever is earlier.

  Sincerely,


  Department of Fair Employment and Housing
 Case 3:19-cv-00223-DMS-MDD              Document 1-2     Filed 01/31/19   PageID.33   Page 26
                                               of 28




 1                   COMPLAINT OF EMPLOYMENT DISCRIMINATION
                           BEFORE THE STATE OF CALIFORNIA
 2                 DEPARTMENT OF FAIR EMPLOYMENT AND HOUSING
                   Under the California Fair Employment and Housing Act
 3                             (Gov. Code, § 12900 et seq.)
 4
     In the Matter of the Complaint of
 5    Gregorio Montalvo-Smith                                   DFEH No. 2018 12-04506813

 6                                 Complainant,
 7 vs.

 8   ShareCare, Inc. d/b/a ShareCare Digital Health
     California
 9   255 E. Paces Ferry Road Ste 700
     Atlanta, Georgia 30305
10

11                       Respondents

12
   1. Respondent ShareCare, Inc. d/b/a ShareCare Digital Health California is an
13 employer subject to suit under the California Fair Employment and Housing Act
   (FEHA) (Gov. Code,§ 12900 et seq.).
14
15 2. Complainant Gregorio Montalvo·Smlth, resides in the City of SAN DIEGO State
   of California.
16
   3. Complainant alleges that on or about August 1, 2018, respondent took the
17 following adverse actions:
18
   Complainant was harassed because of complainant's other, association with a
19 member of a protected class.

20 Complainant was discriminated against because of complainant's association
   with a member of a protected class and as a result of the discrimination was
21 terminated, reprimanded, denied a work environment ·free of discrimination and/or

22 retaliation.
23 Complainant experienced retaliation because complainant reported or resisted
   any form of discrimination or harassment, participated as a witness in a
24 discrimination or harassment complaint and as a result was terminated.
25

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                                   Comp/aint-DFEH No. 201812-04506813

28 Date Filed: December 13. 2018
 Case 3:19-cv-00223-DMS-MDD                Document 1-2      Filed 01/31/19   PageID.34   Page 27
                                                 of 28




 1 Additional Complaint Detalls: Smith is an experienced HR professional with 16
   years HR experience, who was hired by ShareCare as an HR Generalist on March
 2 16, 2018. Smith was an excellent and dedicated employee, receiving a merit bonus
   in July 2018 based on meeting all of his goals. When Plaintiff became aware, on July
 3
   26, 2018, that ShareCare employees were severely ha rassing other employees, he
 4 conducted a full, thorough and impartial investigation. After interviewing nearly a
   dozen employees, including the harasser and her supervisor, Plaintiff concluded that
 5 unlawful harassment had occurred, and that the supervisor knew of the harassment
   and failed to report or prevent it. Accordingly, he tenninated the harasser and her
 6 supervisor.
 7
     This angered the HR Director (who was friends with the terminated supervisor) and
 8   she threatened Smith she would "'retum the favor" for fi ring her friend.

 9 Sure enough, on August 31 , 2018, less than one mon1h aftE!r Smith enforced
   ShareCare's harassment policy by firing Shari and Julie for violation of the policy,
10
   Troyer called Smith, "returned the favor," and terminated him in retaliation.
11 ShareCare   gave Smith the pretextual excuse that they were "eliminating his
   position." However, ShareCare posted a job opening for Plaintiffs same job the
12 same day on line, with a new title.

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28   Date Flied: December 13, 2018
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    Case 3:19-cv-00223-DMS-MDD           Document 1-2    Filed 01/31/19      PageID.35      Page 28
                                               of 28




     1 VERIFICATION

     2 I, Amber L. Eck, am the Attorney in the above-entitled complaint. I have read the
       foregoing complaint and know the contents thereof. The matters alleged are based
     3
       on information and belief, which I believe to be true.
     4
       On December 13, 2018, I declare under penalty of perjury under the laws of lhe State
     5 of California that the foregoing is true and correct.
     6                                                                        San Diego, CA
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    28   Date Filed: December 13, 2018
